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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       PANAMA CITY DIVISION



RESTORE ROBOTICS LLC and
RESTORE ROBOTICS REPAIR LLC,

                         Plaintiffs,
                                            Civil Case No. 5:19-cv-55-TKW-MJF
      v.

INTUITIVE SURGICAL, INC.,

                         Defendant.

INTUITIVE SURGICAL, INC.,

                   Counterclaimant,

      v.

RESTORE ROBOTICS LLC and
RESTORE ROBOTICS REPAIR LLC,

            Counterclaim Defendants.

           JOINT MOTION TO AMEND PROTECTIVE ORDER

      Pursuant to Fed. R. Civ. Proc. 26, Plaintiffs/Counterclaim Defendants

Restore Robotics LLC and Restore Robotics Repairs LLC (together, “Restore”)

and Defendant/Counterclaimant Intuitive Surgical, Inc. (“Intuitive”) hereby jointly

move for entry of an amended protective order, which is attached in clean and

redline versions for the convenience of the Court. The parties seek an amended

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protective order to address feedback from third parties responding to subpoenas for

documents concerning confidentiality protections.

      First, the current protective order allows access to Highly Confidential

Information by two named inhouse counsel at Intuitive. Paragraphs 4 and 8 have

been modified to limit access by inhouse counsel to Highly Confidential

Information produced by third parties. Before disclosing any discovery from third

parties or any analysis or summary derived in part from such discovery to inhouse

counsel, Paragraphs 4 and 8 require that Intuitive either (1) redact any Highly

Confidential Information or (2) redact any customer identifiable information or

other competitively sensitive information protection from the Highly Confidential

Information and secure consent from the third party producing the Highly

Confidential Information.

      Second, the protective order did not have a mechanism for third parties to

receive advanced notice regarding disclosure of their information in open court to

allow them to seek relief, if necessary. Paragraph 11 has been modified to provide

any third party with notice before disclosure of its Confidential or Highly

Confidential Information in any hearing or pre-trial proceeding.

      The proposed order is attached in redline and clean versions for

consideration of the Court.



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Respectfully submitted on August 5, 2020.

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                              DEFENDANTS

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                                        COUNSEL FOR
                                        DEFENDANT/COUNTERCLAIMANT


Pursuant to Local Rule 5.1(F)(1)(a), a certificate of service is not required.




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